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             What’s in the Box
              1. Charging Port                  3. Charger
              2. Power Button




                                            1                2




                                                      3




              Note: Please fully charge the battery prior to use.




              Specs & Features
              • Max Speed: Up To 10 mph
              • Max Range: Up To 10 Miles
              • Battery: 36V, 2.5Ah Lithium-Ion
              • Motor: 500W, Dual Hub Motor (250W × 2)
              • Climbing Angle: Up To 15°
              • Product Weight: 16 lb
              • Tire Size: 6.5”
              • Product Dimensions: L23.5” × W7.3” × H7”
              • Charger: UL LISTED, 100-130V
              • Charge Time: Up To 3 Hours
              • Recommended Age: 12+
              • Weight Limit: 220 lb




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              2. Make Moves

              2.1   Riding the Plasma
                                             NEUTRAL




                                            TURN LEFT




                                           TURN RIGHT




              2.2   Turning the Lights On
              • The default lighting mode will display when the Plasma
              is powered on.
              • Short press the power button to switch between
              different lighting effects.




              Please Note: Images may not reflect exact appearance of actual product.




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              Care & Maintenance
              RIDING RANGE
              The maximum range is 10 miles. However, many factors will affect how
              far you can go per charge:
              • Driving Surface: A smooth, flat surface will increase driving distance.
              • Weight: More weight means less distance.
              • Temperature: Ride, store, and charge the Plasma above 50°F.
              • Maintenance: Timely battery charging will increase driving distance.
              • Driving Style: Frequent starting and stopping will reduce driving distance.
              CLEANING THE PLASMA
              To clean the Plasma, carefully wipe with a damp cloth, then
              dry with a dry cloth. Do not use water to clean the Plasma, as
              the electrical and electronic systems may get wet, resulting in
              personal injury or malfunction of the Plasma. If the electric parts
              or battery get wet, do not power on the Plasma. Please contact
              Jetson Customer Support for assistance.
              BATTERY
              • Keep away from fire and excessive heat.
              • Avoid intense physical shock, severe vibration, or impact.
              • Protect from water or moisture.
              • Do not disassemble the Plasma or its battery.
              • Contact Jetson Customer Support if there are any issues with the
              battery.
              STORAGE
              • Fully charge the battery before storing. The battery should be fully
              charged once a month after this.
              • Cover the Plasma to protect against dust.
              • Store the Plasma indoors, in a dry place.



              MODIFICATIONS
              Do not attempt to disassemble, modify, repair, or replace the product or
              any components of the unit without instruction from Jetson Customer
              Support. This will void any warranty, and can lead to malfunctions which
              may cause injury.

              ADDITIONAL OPERATION CAUTIONS
              Do not lift the product off the ground while it is on and the wheels are in
              motion. This can result in freely spinning wheels, which may cause injury to
              yourself or others nearby. Do not jump on or off the product, and do
              not jump while using it. Always keep your feet firmly planted on the mat
              sensors while in operation. Always check the battery charge before using.




               DISPOSAL OF USED BATTERY
                     Battery may contain hazardous substances which could endanger the
                     environment and human health. This symbol marked on the battery and/
               or packaging indicates that used battery shall not be treated as municipal
               waste. Batteries should be disposed of at an appropriate collection point for
               recycling. By ensuring the used batteries are disposed of correctly, you will help
               preventing potential negative consequences for the environment and human
               health. The recycling of materials will help to conserve natural resources.
               For more information about recycling of used batteries, please contact your
               local municipality waste disposal service.




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               Safety Warnings
              • Before use, please read the user manual and safety warnings carefully, and make sure
              you understand and accept all the safety instructions. The user will be responsible for
              any loss or damage caused by improper use.
              • Before each cycle of operation, the operator shall perform the preoperation checks
              specified by the manufacturer: That all guards and pads originally supplied by the
              manufacturer are in proper place and in serviceable condition; That the braking system is
              functioning properly; That any and all axle guards, chain guards, or other covers or guards
              supplied by the manufacturer are in place and in serviceable condition; That tires are in
              good condition, inflated properly, and have sufficient tread remaining; The area that the
              product is to be operated should be safe and suitable for safe operation.
              • Components shall be maintained and repaired in accordance with the manufacturer’s
              specifications and using only the manufacturer’s authorized replacement parts with
              installation performed by dealers or other skilled persons.
              • Warning against recharging non-rechargeable batteries.
              • Don’t allow hands, feet, hair, body parts, clothing, or similar articles to come in contact
              with moving parts, wheels, or drive train, while the motor is running.
              • This product should not be used by children or persons with reduced physical, sensory
              or mental capabilities, or lack of experience and knowledge, unless they have been given
              supervision or instruction (IEC 60335-1/A2:2006).
              • Unsupervised children should not play with the product (IEC 60335-1/A2:2006).
              • Adult supervision is required.
              • The rider should not exceed 220 lb.
              • Units shall not be operated to perform racing, stunt riding, or other maneuvers, which may
              cause loss of control, or may cause uncontrolled operator/passenger actions or reactions.
              • Never use near motor vehicles.
              • Avoid sharp bumps, drainage grates, and sudden surface changes. Scooter may
              suddenly stop.
              • Avoid streets and surfaces with water, sand, gravel, dirt, leaves, and other debris. Wet
              weather impairs traction, braking, and visibility.
              • Avoid riding around flammable gas, steam, liquid, or dust that could cause fire.
              • Operators shall adhere to all of the manufacturer’s recommendations and
              instructions, as well as comply with all laws and ordinances: Units without headlights
              shall be operated only with adequate daylight conditions of visibility, and; Owners shall
              be encouraged to highlight (for conspicuity) using lighting, reflectors, and for low-riding
              units, signal flags on flexible poles.
              • Persons with the following conditions shall be cautioned not to operate: Those with
              heart conditions; Pregnant women; Persons with head, back, or neck ailments, or prior
              surgeries to those areas of the body; and persons with any mental or physical conditions
              that may make them susceptible to injury or impair their physical dexterity or mental
              capabilities to recognize, understand, and perform all of the safety instructions and to
              be able to assume the hazards inherent in unit use.
              • Do not ride at night.
              • Do not ride after drinking or taking prescription medication.
              • Do not carry items when riding.
              • Never operate the product barefooted.
              • Always wear shoes and keep shoelaces tied.
              • Make sure your feet are always placed securely on the deck.
              • Operators always shall use appropriate protective clothing, including but not
              limited to a helmet, with appropriate certification, and any other equipment
              recommended by the manufacturer: Always wear protective equipment such as helmet,
              knee pads, and elbow pads.
              • Always give way to pedestrians.
              • Be alert to things in front and far away from you.
              • Do not allow distractions when riding, such as answering the phone or engaging in any
              other activities.
              • The product cannot be ridden by more than one person.
              • When you ride the product along with other riders, always keep a safe distance to avoid
              a collision.
              • When turning, be sure to maintain your balance.
              • Riding with improperly adjusted brakes is dangerous and can result in serious
              injury or death.
              • The brake may become hot while operating, do not touch the brake with your bare skin.
              • Applying brakes too hard or too suddenly can lock up a wheel, which could
              cause you to lose control and fall. Sudden or excessive application of the brake
              may result in injury or death.
              • If the brake loosens, please adjust with the hexagon wrench, or please contact Jetson
              Customer Support.
              • Replace worn or broken parts immediately.
              • Check whether all safety labels are in place and understood before riding.
              • The owner shall allow the use and operation of the unit after a demonstration
              that such operators can understand and operate all components of the unit
              before use.
              • Do not ride without proper training. Do not ride at high speeds, on uneven
              terrain, or on slopes. Do not perform stunts or turn abruptly.
              • Recommended for indoor use.
              • Prolonged exposure to UV rays, rain and the elements may damage the enclosure
              materials, store indoors when not in use.

              California Proposition 65
                  WARNING:
              This product can expose you to a chemical such as Cadmium that is known to
              the state of California to cause cancer or birth defects or other reproductive harm.
              For more information go to www.p65warnings.ca.gov/product

              NOTICE OF COMPLIANCE
              This device complies with Part 15 of the FCC Rules. Operation is subject to the following two conditions:
              (1) this device may not cause harmful interference, and (2) this device must accept any interference
              received, including interference that may cause undesired operation.
              Warning: Changes or modifications to this unit not expressly approved by the party responsible for
              compliance could void the user’s authority to operate the equipment.
              NOTE: This equipment has been tested and found to comply with the limits for a Class B digital device,
              pursuant to Part 15 of the FCC Rules. These limits are designed to provide reasonable protection against
              harmful interference in a residential installation. This equipment generates, uses and can radiate radio
              frequency energy and, if not installed and used in accordance with the instructions, may cause harmful
              interference to radio communications. However, there is no guarantee that interference will not occur in a
              particular installation. If this equipment does cause harmful interference to radio or television reception,
              which can be determined by turning the equipment off and on, the user is encouraged to try to correct
              the interference by one or more of the following measures:
                  • Reorient or relocate the receiving antenna.
                  • Increase the separation between the equipment and receiver.
                  • Connect the equipment into an outlet on a circuit different from that to which the receiver is
                  connected.
                  • Consult the dealer or an experienced radio/ TV technician for help.
              Shielded cables must be used with this unit to ensure compliance with the Class B FCC limits.




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                                                              ROGUE
                                                             HOVERBOARD




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           1. WHAT’S IN THE BOX




                                                                    1




                                                    23


                                 1. FRONT LED LIGHTS       4. CHARGER
                                 2. POWER BUTTON           5. CHARGING CABLE
                                 3. CHARGING PORT




                                                                                                4       5




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           2. FEATURES & SPECS




                              • Weight Limit: 220 lbs.
                              • Product Weight: 19.65 lbs.
                              • Recommended Age: 13+
                              • Tire Size: 6.5” All-Terrain Tires
                              • Max Speed: Up To 7 mph
                              • Max Range: Up To 7 Miles
                              • Battery: 29.4V, 4.0Ah Lithium-Ion
                              • Motor: 400W, Dual Hub Motor
                              • Charger: 100-240V
                              • Charge Time: Up To 2 Hours
                              • Climbing Angle: Up To 15°




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           3. CHARGING THE BATTERY



                            A FEW MUST-DO’S:


                                  •    Only use the included charger.
                                  •    Plug the charger into the wall before the Charging Port.
                                  •    Don’t turn on the Rogue while it’s charging (it needs its rest).
                                  •    Charge the battery until it is fully charged, and no longer.
                                  •    Cover the Charging Port when you are done.
                                  •    Remember to have fun!


                                CHARGING INDICATOR ON THE CHARGER:
                                Red Light: Battery is charging.
                                Green/ Blue Light: Charging is complete.


                                                                                                  Charging
                                                                                                  Indicator
                                                                                                  Light




                            CHARGING PORT




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           4. INDICATOR LIGHTS




                                                                  1   2




                            1. Battery Indicator Light:

                              • Green light - Over 50% power.
                              • Yellow light - 49-20% power.
                              • Red light - Less than 20% power. Time to charge!

                            Warning: If the battery power goes below 10%, the Rogue will
                            automatically turn off as a safety precaution.

                            2. Status Indicator Light - If the Status Indicator Light turns
                            red or if you are having issues with the Rogue, you may need to
                            recalibrate it.




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           5. HOW TO RECALIBRATE




                                                 Hold for
                                                 5 seconds

                            Follow these simple steps...

                            1. Place the Rogue on a flat, level surface. Now say something
                            nice to it. Just kidding, but, go ahead if you like.

                            2. Hold the Power Button (for about 5 seconds) until you are
                            notified of a successful recalibration.

                            3. Restart the Rogue by turning it off and then on.

                            4. You’re all set! The Rogue is ready to roll.




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           6. RIDING THE ROGUE

                                                                NEUTRAL




                                                               TURN LEFT




                                                              TURN RIGHT




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           7. CARE AND MAINTENANCE
           RIDING RANGE
           The maximum range is 7 miles. However, a lot of factors will affect how far you can
           go per charge:
               • Driving Surface: A smooth, flat surface will increase driving distance.
               • Weight: More weight means less distance.
               • Temperature: Ride and store the Rogue above 50°F.
               • Maintenance: Timely battery charging and maintenance will increase driving
               distance.
               • Speed and Driving Style: Frequent starting and stopping will reduce driving
               distance.

           CLEANING THE ROGUE
           To clean the Rogue, carefully wipe with a damp cloth, then dry with a dry cloth. Do
           not use water to clean the Rogue, as the electrical and electronic systems may get
           wet, resulting in personal injury or malfunction of the Rogue.

           BATTERY
               • Keep the Rogue away from fire and excessive heat.
               • Do not subject the Rogue to intense physical shock, severe vibration, or impact.
               • Protect from water or moisture.
               • Do not disassemble the Rogue or its battery.
               • If there are any issues with the battery, please contact Jetson Customer
               Support.

           STORAGE
               • Fully charge the battery before storing. The battery should be fully charged
               once a month after this.
               • To protect against dust, cover the Rogue.
               • Store the Rogue indoors, in a dry place and at a suitable temperature.
               • You should bring the Rogue into a warm environment for charging.




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           8. SAFETY WARNINGS
           • For your safety, please read the user manual and safety warnings carefully, and
           make sure you understand and accept all the safety instructions. The user will be
           responsible forany loss or damage caused by improper use.
           • Children, the elderly, pregnant women, and those with heart conditions should not
           use the Rogue.
           • The rider should not exceed 220 lbs.
           • Do not ride at night.
           • Do not use near motor vehicles.
           • Do not ride after drinking or taking prescription medication.
           • Do not ride the Rogue if you have had any head, back, or neck ailments, or prior
           surgeries to those areas.
           • Persons with any mental or physical conditions that may make them
           susceptible to injury or impair their dexterity or mental capabilities should
           recognize, understand, and perform all of the safety instructions and be able to
           assume the hazards inherent in using the Rogue.
           • Do not carry items when riding.
           • Always wear shoes, a helmet, and appropriate safety gear.
           • Prior to each ride, inspect each part of the Rogue to ensure it has been
           maintained correctly and is functioning properly.
           • Always give way to pedestrians.
           • Always comply with local traffic laws and regulations.
           • Be alert to things in front and far away from you.
           • Make sure your feet are always placed securely on the deck.
           • The Rogue cannot be ridden by more than one person.
           • When you ride the Rogue along with other riders, always keep a safe distance to
           avoid a collision.
           • When turning, be sure to maintain your balance.
           • Do not allow distractions when riding, such as answering the phone or engaging in
           any other activities.
           • Avoid riding in the rain or on smooth surfaces such as snow or ice.
           • Do not ride on roads with obstacles (such as litter, small stones, etc.).
           • Avoid riding in narrow spaces or on steep slopes.
           • Avoid riding around flammable gas, steam, liquid, or dust that could cause fire.
           • Never operate the products barefooted and keep shoelaces tied.
           • Riding with improperly adjusted brakes is dangerous and can result in serious injury
           or death.




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           • Applying brakes too hard or too suddenly can lock up a wheel, which could cause
           you to lose control and fall. Sudden or excessive application of the brake may result
           in injury or death.
           • Do not ride without proper training. Do not ride at high speeds, on uneven terrain, or
           on slopes. Do not perform stunts or t  urn abruptly.
           • The area that the Rogue is to be operated should be safe and suitable for safe
           operation.
           • Check whether all safety labels are in place and understood before riding.
           • The owner shall allow the use and operation of the unit after a demonstration that
           such operators can understand and operate all components of the unit before use.
           • Operators shall adhere to all of the manufacturer’s recommendations and
           instructions, as well as comply with all laws and ordinances.
           • Only ride the Rogue with adequate daylight conditions for visibility.
           • We encourage you to highlight the Rogue, for visibility, by using lighting, reflectors,
           and signal flags on flexible poles.

           CALIFORNIA PROPOSITION 65
               WARNING: This product can expose you to a chemical such as Cadmium that
           is known to the State of California to cause cancer or birth defects or other
           reproductive harm. For more information go to www.p65warnings.ca.gov/product

           MODIFICATIONS
           Do not attempt to disassemble, modify, repair, or replace the Rogue or any
           components of the unit without instruction from Jetson Customer Support. This
           will void any warranty, and can lead to malfunctions which may cause injury.

           ADDITIONAL OPERATION CAUTIONS
           Do not lift the Rogue off the ground while it is on and the wheels are in motion.
           This can result in freely spinning wheels, which may cause injury to yourself or
           others nearby. Do not jump on or off the Rogue, and do not jump while using it.
           Always keep your feet firmly planted on the deck while in operation. Always
           check the battery charge before using.

           This device complies with Part 15 of the FCC Rules. Operation is subject to the
           following two conditions: (1) This device may not cause harmful interference,
           and (2) this device must accept any interference received, including
           interference that may cause undesired operation.




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                         FCC statement
                         This device complies with Part 15 of the FCC rules. Operation is subject to the
                         following two conditions:
                         1) this device may not cause harmful interference, and
                         2) this device must accept any interference received, including interference that may
                         cause undesired operation.
                         Note: This equipment has been tested and found to comply with the limits for a Class
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                         B digital device, pursuant to part 15 of the FCC Rules. These limits are designed to
                         provide reasonable protection against harmful interference in a residential
                         installation. This equipment generates uses and can radiate radio frequency energy
                         and, if not installed and used in accordance with the instructions, may cause harmful
                         interference to radio communications. However, there is no guarantee that
                         interference will not occur in particular installation. If this equipment does cause
                         harmful interference to radio or television reception, which can be determined by
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                         turning the equipment off and on, the user is encouraged to try to correct the
                         interference by one or more of the following measures:
                         --Reorient or relocate the receiving antenna.
                         --Increase the separation between the equipment and receiver.
                         --Connect the equipment into an outlet on a circuit different from that to which the
                         receiver is connected.
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                         --Consult the dealer or an experienced radio/TV technician for help.
                         Changes or modifications not expressly approved by the party responsible for
                         compliance could v<74 B65 H@5?^@ 3HB6<?7BI B< <=5?3B5 B65 5>H7=95;B]
                         FCC Radiation Exposure Statement
                         This device complies with FCC RF radiation exposure limits set forth for an
                         uncontrolled environment. This transmitter must not be co-located or operating in
                         conjunction with any other antenna or transmitter.
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